ILND 450 (Rev. Case:    1:19-cv-08374
               10/13) Judgment in a Civil Action Document   #: 70 Filed: 03/31/22 Page 1 of 1 PageID #:1097

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

Elliott Osborne,

Plaintiff(s),
                                                                   Case No. 19 C 8374
v.                                                                 Judge Edmond E. Chang

WeWork Companies Inc. et al,

Defendant(s).

                                               JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                  in favor of plaintiff(s)
                  and against defendant(s)
                  in the amount of $       ,

                           which        includes       pre–judgment interest.
                                        does not include pre–judgment interest.

         Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

         Plaintiff(s) shall recover costs from defendant(s).


                  in favor of defendant(s)
                  and against plaintiff(s)

         Defendant(s) shall recover costs from plaintiff(s).


              other: The Plaintiff’s individual claims are dismissed with prejudice. The proposed class claims
are dismissed without prejudice.

This action was (check one):

     tried by a jury with Judge     presiding, and the jury has rendered a verdict.
     tried by Judge     without a jury and the above decision was reached.
     decided by Judge Edmond E. Chang.



Date: 3/31/2022                                                 Thomas G. Bruton, Clerk of Court

                                                                /s/ Michael Wing, Deputy Clerk
